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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


PAUL C. CLARK,

                     Plaintiff,

              v.                                       Case No. 1:22-cv-02892-SAG

DOCUSIGN, INC.,

                     Defendant.

                                  JOINT STATUS UPDATE

       Plaintiff Paul C. Clark and Defendant DocuSign, Inc. hereby provide an update on the

status of this case pursuant to the Court’s Order at Dkt. 36. The Parties have reached a formal

written settlement agreement and expect to have a signed Settlement Agreement on or before

September 18, 2023. The Parties will promptly notify the Court when the Settlement Agreement

has been executed.



                                                Respectfully, submitted,



  Dated:   September 13, 2023                   /s/ Daniel John Emam
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                                                DOCUSIGN, INC.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2023, a copy of the foregoing JOINT STATUS UPDATE

was served on counsel of record for all parties via electronic mail to:


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                                                      /s/ Daniel John Emam
                                                      Daniel John Emam




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